               Case 8-11-77856-ast        Doc 6     Filed 11/06/11      Entered 11/15/11 16:48:10

                                       United States Bankruptcy Court
                                       Eastern District of New York
In re:                                                                                   Case No. 11-77856-ast
Daniel Roman                                                                             Chapter 7
Mayra Roman
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0207-8           User: jlecky                  Page 1 of 2                   Date Rcvd: Nov 04, 2011
                               Form ID: 213                  Total Noticed: 69


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 06, 2011.
db/jdb        +Daniel Roman,    Mayra Roman,    66 Sprague Drive,    Valley Stream, NY 11580-3329
aty           +Dennis Houdek,    305 Broadway,    Seventh Floor,    New York, NY 10007-1109
tr            +Kenneth Kirschenbaum,    Kirschenbaum & Kirschenbaum,      200 Garden City Plaza,    Suite 500,
                Garden City, NY 11530-3357
smg           +NYC Department of Finance,     345 Adams Street, 3rd Floor,     Attn: Legal Affairs - Devora Cohn,
                Brooklyn, NY 11201-3719
smg           +NYS Department of Taxation & Finance,     Bankruptcy Unit,     PO Box 5300,    Albany, NY 12205-0300
smg           +NYS Unemployment Insurance,     Attn: Isolvency Unit,     Bldg. #12, Room 256,
                Albany, NY 12240-0001
7445285       +Americredit,    c/o NCO Financial Systems Inc.,     Dept. P.O. Box 15630,     Dept. 02,
                Wilmington, DE 19850-5630
7445284        Americredit,    c/o NCO Financial Systems Inc.,     P.O. Box 15372,    Wilmington, DE 19850-5372
7445268       +BPC Management Corp.,    80 Livingston Street,     Brooklyn, NY 11201-5009
7445318       +Bill Me Later,    P.O. Box 105658,    Atlanta, GA 30348-5658
7445287       +Cablevision,    c/o NCO Financial Systems Inc.,     Dept. P.O. Box 15630,     Dept. 99,
                Wilmington, DE 19850-5630
7445286        Cablevision,    c/o NCO Financial Systems Inc.,     P.O. Box 15740,    Wilmington, DE 19850-5740
7445283       +Citibank (South Dakota) N.A.,     c/o Rubin & Rothman, LLC,     1787 Veterans Highway,
                Islandia, NY 11749-1500
7445258       +City of New York,    Environmental Control Board,     66 John Street,    New York, NY 10038-3724
7445259       +City of New York,    Parking Violations Bureau,     66 John Street,    New York, NY 10038-3728
7445281        DFS Services, LLC,    c/o Zwicker & Associates P.C.,      P.O. Box 101145,
                Birmingham, AL 35210-6145
7445280        DFS Services, LLC,    c/o Zwicker & Associates P.C.,      80 Minuteman Road,
                Andover, MA 01810-1008
7445317       +Gilman Management Corporation,     55 Watermill Lane,     Great Neck, NY 11021-4206
7445316       +Greenpoint Mortgage Funding, Inc.,     c/o Stagg Terenzi Confusione & Wabnik, L,
                401 Franklin Avenue, Suite 300,     Garden City, NY 11530-5942
7445297        HSBC Bank,    c/o Cohen & Slamowitz, LLP,     P.O. Box 9004,    Woodbury, NY 11797-9004
7445314       +HSBC Bank Nevada, N.A.,    c/o NYC Marshal Ronald Moses,      116 John Street, 15th Floor,
                New York, New York 10038-3300
7445298        HSBC Bank Nevada, N.A.,    c/o Cohen & Slamowitz, LLP,      P.O. Box 9001,    Woodbury, NY 11797-9001
7445291        Home Depot Credit Services,     P.O. Box 183175,    Columbus, OH 43218-3175
7445288        Home Depot Credit Services,     Processing Center,    Des Moines, IA 50364-0500
7445289        Home Depot Credit Services,     P.O. Box 689100,    Des Moines, IA 50368-9100
7445256        JP Morgan Chase Bank, N.A.,     P.O Box 659754,    San Antonio, TX 78265-9754
7445301       +NYC Department of Finance,     59 Maiden Lane, 19th Floor,     New York, NY 10038-4613
7445302        NYC Department of Finance,     P.O. Box 2301,    New York, NY 10272-2301
7445315       +Nassau County Sheriff,    240 Old Country Road,     Mineola, NY 11501-4226
7445267       +National Grid,    c/o Penn Credit,    P.O. Box 1259, Dept. 91047,     Oaks, PA 19456-1259
7445295       +National Grid,    P.O. Box 020760,    Brooklyn, NY 11202-0760
7445266        National Grid,    c/o Penn Credit,    916 South 14th Street,     P.O. Box 988,
                Harrisburg, PA 17108-0988
7445275       +National Grid NY,    c/o RUI Credit Services,     P.O. Box 1349,    Melville, NY 11747-0421
7445292        Nissan Motor Acceptance Corp.,     c/o Vital Recovery Services, Inc.,      P.O. Box 923747,
                Norcross, GA 30010-3747
7445293        Nissan Motor Acceptance Corp.,     c/o Vital Recovery Services, Inc.,      P.O. Box 923748,
                Norcross, GA 30010-3748
7445272        Nissan-Infiniti LT,    P.O. Box 660366,    Dallas, TX 75266-0366
7445263        Ocwen Loan Servicing, LLC,     P.O. Box 24665,    West Palm Beach, FL 33416-4665
7445262        Ocwen Loan Servicing, LLC,     P.O. Box 24738,    West Palm Beach, FL 33416-4738
7445265       +Ocwen Loan Servicing, LLC,     P.O. Box 6501,    Springfield, OH 45501-6501
7445264        Ocwen Loan Servicing, LLC,     P.O. Box 6723,    Springfield, OH 45501-6723
7445261        Ocwen Loan Servicing, LLC,     P.O. Box 6440,    Carol Stream, IL 60197-6440
7445303        R.G. Mortgage Corporation,     280 J.T. Pinero Ave. Hato Rey PR 00918,
                P.O. Box 36394 San Juan, PR 00936-2394
7445304        R.G. Mortgage Corporation,     P.O. Box 36394,    280 Jesus T. Pinero Avenue,     San Juan, PR 00936
7445273       +Radian Guaranty Inc.,    1601 Market Street,     Philadelphia, PA 19103-2494
7445257       +STS Properties 1, LLC,    c/o Law Offices of David W. Graber,      55 Watermill Lane, Suite 100,
                Great Neck, NY 11021-4206
7445270       +Stephen David Cohn, Esq.,     16 Court Street,    Brooklyn, NY 11241-0102
7445269       +Stephen R. Chesley, Esq.,     16 Court Street, Suite 2501,     Brooklyn, NY 11241-1025
7445278       +T-Mobile,    c/o Pinnacle Financial Group,     Dept. 683,    P.O. Box 4115,    Concord, CA 94524-4115
7445294       +TD Bank N.A.,    c/o Associated Credit Services Inc.,      105B South Street,    P.O. Box 9100,
                Hopkinton, MA 01748-9100
7445260       +U.S. Bank National Association as Trustee,      c/o Rosicki, Rosicki & Associates, P.C.,
                51 East Bethpage Road,    Plainview, NY 11803-4224
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                                       Form ID: 213                       Total Noticed: 69


 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
 (continued)

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 smg          +E-mail/Text: ustpregion02.li.ecf@usdoj.gov Nov 04 2011 16:41:57        United States Trustee,
                Office of the United States Trustee,    Long Island Federal Courthouse,     560 Federal Plaza,
                Central Islip, NY 11722-4456
 7445271       EDI: PHINAMERI.COM Nov 04 2011 16:43:00      Americredit Financial Services,     P.O. Box 183593,
                Arlington, TX 76096-3593
 7445300      +E-mail/Text: stephanie@cbhv.com Nov 04 2011 16:41:57       Cablevision of Western Nassau,
                c/o CBHV,   P.O. Box 3495,    Toledo, OH 43607-0495
 7445299       E-mail/Text: stephanie@cbhv.com Nov 04 2011 16:41:57       Cablevision of Western Nassau,
                c/o CBHV,   P.O. Box 831,    Newburgh, NY 12551-0831
 7445290       EDI: CAPITALONE.COM Nov 04 2011 16:43:00      Capital One,     P.O. Box 71083,
                Charlotte, NC 28272-1083
 7445308       EDI: CHASE.COM Nov 04 2011 16:43:00      Chase Cardmember Service,     P.O. Box 15153,
                Wilmington, DE 19886-5153
 7445309       EDI: CHASE.COM Nov 04 2011 16:43:00      Chase Cardmember Service,     P.O. Box 15298,
                Wilmington, DE 19850-5298
 7445310       EDI: CHASE.COM Nov 04 2011 16:43:00      Chase Customer Service,      P.O. Box 15299,
                Wilmington, DE 19850-5299
 7445306       EDI: DISCOVER.COM Nov 04 2011 16:43:00      Discover Card,     P.O. Box 30943,
                Salt Lake City, UT 84130
 7445305       EDI: DISCOVER.COM Nov 04 2011 16:43:00      Discover,    P.O. Box 71084,
                Charlotte, NC 28272-1084
 7445307       EDI: DISCOVER.COM Nov 04 2011 16:43:00      Discover Card,     P.O. Box 30421,
                Salt Lake City, UT 84130-0421
 7445312       EDI: RMSC.COM Nov 04 2011 16:43:00      GE Money Bank,    P.O. Box 981127,
                El Paso, TX 79998-1127
 7445311       EDI: RMSC.COM Nov 04 2011 16:43:00      GE Money Bank,    P.O. Box 960061,
                Orlando, FL 32896-0061
 7445313       EDI: RMSC.COM Nov 04 2011 16:43:00      GE Money Bank,    P.O. Box 981438,
                El Paso, TX 79998-1438
 7445282       EDI: ACCE.COM Nov 04 2011 16:43:00      GEMB/PC Richard,    c/o Asset Acceptance LLC,
                P.O. Box 2036,   Warren, MI 48090-2036
 7445296      +E-mail/Text: info@jawpc.net Nov 04 2011 16:41:56       HSBC Bank,    c/o James A. West, P.C.,
                6380 Rogerdale Road, Suite 130,    Houston, TX 77072-1647
 7445277      +EDI: PINNACLE.COM Nov 04 2011 16:43:00      T-Mobile,    c/o Pinnacle Financial Group,
                7825 Washington Avenue S., Suite 310,    Minneapolis, MN 55439-2424
 7445276       EDI: CBCSI.COM Nov 04 2011 16:43:00      Verizon,    c/o CBCS,    P.O. Box 163250,
                Columbus, OH 43216-3250
 7445279       EDI: AFNIRECOVERY.COM Nov 04 2011 16:43:00      Verizon New York Inc.,     c/o Afni Inc.,
                404 Brock Drive,   P.O. Box 3427,    Bloomington, IL 61702-3427
                                                                                                TOTAL: 19

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 7445274        ##American Express,   P.O. Box 105278,   Atlanta, GA 30348-5278
                                                                                                                     TOTALS: 0, * 0, ## 1

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
 will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
 debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 06, 2011                                       Signature:
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B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/10)                             Case Number 8−11−77856−ast
                              UNITED STATES BANKRUPTCY COURT
                                      Eastern District of New York
                                               Notice of
                      Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 11/2/11.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your Rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                                      See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Daniel Roman                                                            Mayra Roman
66 Sprague Drive                                                        aka Mayra Colon
Valley Stream, NY 11580                                                 66 Sprague Drive
                                                                        Valley Stream, NY 11580
Case Number:                                                            Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID
8−11−77856−ast                                                          No.:
                                                                        xxx−xx−0064
                                                                        xxx−xx−2832
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Dennis Houdek                                                           Kenneth Kirschenbaum
305 Broadway                                                            Kirschenbaum & Kirschenbaum
Seventh Floor                                                           200 Garden City Plaza
New York, NY 10007                                                      Suite 500
Telephone number: (212) 822−1470                                        Garden City, NY 11530
                                                                        Telephone number: (516) 747−6700

                                                       Meeting of Creditors
Date: December 13, 2011                                           Time: 11:00 AM
Location: Office of the United States Trustee, Long Island Federal Courthouse, 560 Federal Plaza − Room 561, Central Islip, NY
11722−4437

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                  See "Presumption of Abuse" on reverse side.
Insufficient information has been filed to date to permit the clerk to make any determination concerning the presumption of abuse. If more
complete information, when filed, shows that the presumption has arisen, creditors will be notified.

                                                               Deadlines:
                           Papers must be received by the bankruptcy clerk's office by the following deadlines:
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 2/13/12

                                             Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
290 Federal Plaza, P.O. Box #9013                                       Clerk of the Bankruptcy Court:
Central Islip, NY 11722−9013                                            Robert A. Gavin, Jr.
Telephone number: (631) 712−6200
Hours Open: Monday − Friday 9:00 AM − 4:30 PM                           Date: 11/4/11
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                                                          EXPLANATIONS                                           B9A (Official Form 9A) (12/10)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under § 727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.

Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.

Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.

Undeliverable Notices Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the parties
                      correct address, resend the returned notice, and notify this office of the parties change of address. Failure to provide
                      all parties with a copy of the notice may adversely affect the debtor as provided by the Bankruptcy Court.
Form 21 Statement of The debtor or debtor's attorney is required to bring a paper copy of the petition with full social security number
Social Security #    displayed to the first meeting of creditors.

Personal Financial       In order to receive a discharge, the debtor must complete a Personal Financial Management Course and must file a
Management Course        Certificate of Completion of the Personal Financial Management Course (Official Form 23) within 60 days after the
                         first date set for the section 341 meeting. If the Personal Financial Management Course Certificate is not filed within
                         the allotted time, a discharge will not be issued and the case will be closed.
